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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO


THE UNITED STATES OF AMERICA
Plaintiff,

          vs.                                              CASE NO. 17-596-018 (PAD)

DAN JOSEPH RODRIGUEZ-LARACUENTE
Defendant
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        MOTION NOTIFYING VIOLATIONS OF CONDITIONS OF RELEASE AND
             REQUESTING THE ISSUANCE OF AN ARREST WARRANT

TO THE HONORABLE PEDRO A. DELGADO
UNITED STATES DISTRICT JUDGE
FOR THE DISTRICT OF PUERTO RICO

       COMES NOW, FRANKLIN CASTILLO-FERNANDEZ, U.S. PROBATION OFFICER

of this Court, providing the following information pursuant to Court order:

           1. On January 12, 2018, the defendant was ordered released on a $10,000

                unsecured bond by the Honorable U.S. Magistrate Judge Camille L. Velez-

                Rive along with pretrial services supervision and other conditions of release.

           2. On June 25, 2021, a call was received from Sargent Marquez of the Puerto

                Rico Police Department (PRPD) notifying that Mr. Rodriguez-Laracuente had

                a domestic violence complaint lodged against him (Q-2021-7-132-3702) by

                Mrs. Nanette Zoraida Melendez-Urbina, his consensual partner, for which he

                was arrested and taken into custody.

           3. According to the complaint and information obtained from the PRPD Bayamon

                Domestic Violence Unit, on Friday June 25, 2021, at 0830, the defendant

                grabbed Mrs. Nanette Zoraida Melendez-Urbina by the arm, pulled her out of
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               her vehicle and forcibly kissed her, creating a small bruise.

           4. As verified, on June 27, 2021, Bayamon Municipal Judge Catherine Brunette

               found cause for the aforementioned charges. A bond with electronic monitoring

               supervision was imposed. However, as of the filing of this motion Mr.

               Rodriguez-Laracuente has not posted bail and remains detained at the

               Bayamon Correctional Facility 705.

       According to the aforementioned information, Mr. Rodriguez-Laracuente appears to

be in violation of the following conditions of release:

       (1) - “The defendant must not violate, state, or local law while on release.”

       WHEREFORE, in view of the aforementioned, it is respectfully requested that the

Court take notice of the contents of this motion, and that a warrant for defendant’s arrest be

issued so that he may be brought before this Honorable Court to show cause as to why his

bail supervision should not be revoked.

       In San Juan, Puerto Rico, this 29th day of June 2021.

                                                    Respectfully submitted,

                                                    LUIS ENCARNACION-CANALES, CHIEF
                                                    U.S. PROBATION OFFICER

                                                    s/Franklin Castillo-Fernandez
                                                    Franklin Castillo-Fernandez
                                                    U.S. Probation Officer
                                                    150 Carlos Chardón Ave.
                                                    Federal Office Building, Office 225
                                                    San Juan, PR 00918
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                                    CERTIFICATE OF SERVICE

        I HEREBY certify that I electronically filed the foregoing motion with the Clerk of the

Court using the CM/ECF system which will send notification of such filing to the parties in this

case.

        In San Juan, Puerto Rico, this 29th day of June 2021.

                                                   s/ Franklin Castillo-Fernandez
                                                   Franklin Castillo-Fernández
                                                   U.S. Probation Officer
